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                                 EXHIBIT B

                          Declaration of Jay Herriman
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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF PUERTO RICO

In re:                                                           PROMESA
                                                                 Title III
THE FINANCIAL OVERSIGHT AND
MANAGEMENT BOARD FOR PUERTO RICO,                                No. 17 BK 3283-LTS
          as representative of                                   (Jointly Administered)
THE COMMONWEALTH OF PUERTO RICO, et
al.,                                                             This filing relates to the
                                                                 Commonwealth, HTA and ERS.
                                    Debtors. 1

  DECLARATION OF JAY HERRIMAN IN SUPPORT OF THE THREE HUNDRED
      FORTY-SEVENTH OMNIBUS OBJECTION (SUBSTANTIVE) OF THE
    COMMONWEALTH OF PUERTO RICO, PUERTO RICO HIGHWAYS AND
TRANSPORTATION AUTHORITY, AND THE EMPLOYEES RETIREMENT SYSTEM
   OF THE GOVERNMENT OF THE COMMONWEALTH OF PUERTO RICO TO
              MISCLASSIFIED AND OVERSTATED CLAIMS

         I, Jay Herriman, pursuant to 28 U.S.C. § 1746, hereby declare under penalty of perjury that

the following is true and correct to the best of my knowledge, information and belief:

         1.      I am a Managing Director of Alvarez & Marsal North America, LLC (“A&M”).

The Financial Oversight and Management Board (the “Oversight Board”) retained A&M to assist



1
    The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number
    and the last four (4) digits of each Debtor’s federal tax identification number, as applicable, are
    the (i) Commonwealth of Puerto Rico (the “Commonwealth”) (Bankruptcy Case No. 17 BK
    3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing
    Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of Federal
    Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy
    Case No. 17 BK 3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees
    Retirement System of the Government of the Commonwealth of Puerto Rico (“ERS”)
    (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax ID: 9686); (v) Puerto
    Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17 BK 4780-LTS) (Last Four
    Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (“PBA”, and
    together with the Commonwealth, COFINA, HTA, ERS, and PREPA, the “Debtors”)
    (Bankruptcy Case No. 19-BK-5523-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III
    case numbers are listed as Bankruptcy Case numbers due to software limitations)
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with, inter alia, the claims reconciliation process for the Debtors’ (as defined below) cases filed

pursuant to the Puerto Rico Oversight, Management, and Economic Stability Act (“PROMESA”).

Unless otherwise stated in this declaration, I have personal knowledge of the facts set forth herein.

       2.      In my capacity as a Managing Director of A&M, I am one of the persons

responsible for overseeing the claims reconciliation and objection process in the Debtors’ case

filed pursuant to PROMESA. The Debtors’ ongoing claims reconciliation process involves the

collective effort of a team of A&M employees, as well as Proskauer Rose LLP and O’Neill &

Borges LLC, counsel for the Oversight Board, the legal representative for the Commonwealth of

Puerto Rico (the “Commonwealth”), the Puerto Rico Highways and Transportation Authority

(“HTA”), and the Employees Retirement System of the Government of the Commonwealth of

Puerto Rico (“ERS,” and together with the Commonwealth and HTA, the “Debtors”).

       3.      I submit this declaration in support of the Three Hundred Forty-Seventh Omnibus

Objection (Substantive) of the Commonwealth of Puerto Rico, the Puerto Rico Highways and

Transportation Authority, and the Employees Retirement System of the Government of the

Commonwealth of Puerto Rico to Misclassified and Overstated Claims (the “Three Hundred Forty-

Seventh Omnibus Objection”). I have personally reviewed the Three Hundred Forty-Seventh

Omnibus Objection and exhibits thereto and am, accordingly, familiar with the information

contained therein.

       4.      In preparation for filing the Three Hundred Forty-Seventh Omnibus Objection, and

under my direction and/or supervision, each of the claims at issue in the Three Hundred Forty-

Seventh Omnibus Objection was carefully reviewed and analyzed in good faith using due diligence

by the appropriate personnel. These efforts resulted in the identification of the claims to be

reclassified, as identified in Exhibit A to the Three Hundred Forty-Seventh Omnibus Objection.




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        5.       To the best of my knowledge, information, and belief, the claims listed on Exhibit

A to the Three Hundred Forty-Seventh Omnibus Objection in the column titled “Claims to Be

Reclassified” (each a “Claim to Be Reclassified,” collectively, the “Claims to Be Reclassified”)

incorrectly or improperly assert that they are secured and/or that they are entitled to administrative

expense priority pursuant to 11 U.S.C. § 503(b)(9). Upon a reasonable review of the Debtors’

books and records, the Debtors have concluded that the Claims to Be Reclassified are not entitled

to either administrative expense priority or secured status, and should appropriately be classified

as general unsecured claims. In addition, due to the process by which Prime Clerk, LLC records

and logs proofs of claim, each of the Claims to Be Reclassified are logged on the Title III claims

registry in an overstated amount that exceeds the total amount listed in Box 8 of the proof of claim.

Reclassification of the Claims to Be Reclassified is necessary to avoid prejudicing other claimants,

including other holders of general unsecured claims. Further, the holders of the Claims to Be

Reclassified will retain a modified claim against the Debtors, as set for the in the column entitled

“Modified Reduced Claim” on Exhibit A hereto.

        6.       Based on the foregoing, and to the best of my knowledge, information, and belief,

the information contained in the Three Hundred Forty-Seventh Omnibus Objection and exhibits

thereto is true and correct, and the relief requested therein is in the best interests of the Debtor and

its creditors.

        7.       I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct to the best of my knowledge and belief.



Dated: June 18, 2021
                                                        By:     /s/ Jay Herriman
                                                                Jay Herriman




                                                   3
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                                  ANEXO B

                          Declaración de Jay Herriman
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                   TRIBUNAL DE DISTRITO DE LOS ESTADOS UNIDOS
                        PARA EL DISTRITO DE PUERTO RICO

In re:                                                           PROMESA
                                                                 Título III
JUNTA DE SUPERVISIÓN Y ADMINISTRACIÓN
FINANCIERA PARA PUERTO RICO,                                     Núm. 17 BK 3283-LTS
          como representante del                                 (Administrado Conjuntamente)
ESTADO LIBRE ASOCIADO DE PUERTO RICO et
al.,                                                             La presente radicación guarda
                                                                 relación con el ELA, el SRE y la
                                    Deudores. 1                  ACT..

    DECLARACIÓN DE JAY HERRIMAN EN APOYO DE LA TRICENTÉSIMA
 CUADRAGÉSIMA SÉPTIMA OBJECIÓN GLOBAL (SUSTANTIVA) DEL ESTADO
 LIBRE ASOCIADO DE PUERTO RICO, DE LA AUTORIDAD DE CARRETERAS Y
  TRANSPORTACIÓN DE PUERTO RICO Y DEL SISTEMA DE RETIRO DE LOS
EMPLEADOS DEL GOBIERNO DEL ESTADO LIBRE ASOCIADO DE PUERTO RICO
 A RECLAMACIONES ERRÓNEAMENTE CLASIFICADAS Y SOBREESTIMADAS
         Yo, Jay Herriman, de conformidad con el Título 28 U.S.C., § 1746, por medio de la

presente declaro, so pena de incurrir en falso testimonio, que lo que sigue es veraz y correcto a mi

fiel saber y entender:


1
    Los Deudores en los presentes Casos de Título III, junto con el respectivo número de caso de
    Título III y los últimos cuatro (4) dígitos del número de identificación contributiva federal de
    cada Deudor, en su caso, son i) el Estado Libre Asociado de Puerto Rico (el "ELA") (Caso de
    Quiebra Núm. 17 BK 3283-LTS) (Últimos cuatro dígitos de la identificación contributiva
    federal: 3481); ii) la Corporación del Fondo de Interés Apremiante de Puerto Rico ("COFINA")
    (Caso de Quiebra Núm. 17 BK 3284-LTS) (Últimos cuatro dígitos de la identificación
    contributiva federal: 8474); iii) la Autoridad de Carreteras y Transportación de Puerto Rico (la
    "ACT") (Caso de Quiebra Núm. 17 BK 3567-LTS) (Últimos cuatro dígitos de la identificación
    contributiva federal: 3808); iv) el Sistema de Retiro de los Empleados del Gobierno del Estado
    Libre Asociado de Puerto Rico (el "SRE") (Caso de Quiebra Núm. 17 BK 3566-LTS) (Últimos
    cuatro dígitos de la identificación contributiva federal: 9686); v) la Autoridad de Energía
    Eléctrica de Puerto Rico (la "AEE") (Caso de Quiebra Núm. 17 BK 4780-LTS) (Últimos cuatro
    dígitos de la identificación contributiva federal: 3747); y vi) la Autoridad de Edificios Públicos
    de Puerto Rico (la "AEP", y junto con el ELA, COFINA, la ACT, el SRE y la AEE, los
    "Deudores") (Caso de Quiebra Núm. 19-BK-5523-LTS) (Últimos cuatro dígitos de la
    identificación contributiva federal: 3801) (Los números de los casos de Título III están
    enumerados como números de Casos de Quiebra debido a ciertas limitaciones en el programa
    informático).
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       1.      Soy director general de Alvarez & Marsal North America, LLC ("A&M"). La Junta

de Supervisión y Administración Financiera (la "Junta de Supervisión") contrató a A&M para que

le ayudara, entre otras cosas, con el proceso de reconciliación de reclamaciones en relación con

los casos de los Deudores (según se define abajo) radicados conforme a la Ley para la Supervisión,

Administración y Estabilidad Económica de Puerto Rico ("PROMESA"). Salvo disposición en

contrario en la presente declaración, tengo conocimiento personal de los hechos aquí expuestos.

       2.      En mi capacidad de director general de A&M, soy una de las personas responsables

de supervisar el proceso de reconciliación y objeciones relativo a las reclamaciones en el marco

del caso de los Deudores radicado conforme a PROMESA. El proceso continuo de reconciliación

de reclamaciones de los Deudores implica un esfuerzo colectivo de un equipo de los empleados de

A&M, así como de Proskauer Rose LLP y de O’Neill & Borges LLC, abogados de la Junta de

Supervisión, el representante legal del Estado Libre Asociado de Puerto Rico (el "ELA"), de la

Autoridad de Carreteras y Transportación de Puerto Rico (la "ACT") y del Sistema de Retiro de

los Empleados del Gobierno del Estado Libre Asociado de Puerto Rico (el "SRE", y junto con el

ELA y la ACT, los "Deudores").

       3.      Realizo esta declaración en apoyo de la Tricentésima cuadragésima séptima

objeción global (sustantiva) del Estado Libre Asociado de Puerto Rico, de la Autoridad de

Carreteras y Transportación de Puerto Rico y del Sistema de Retiro de los Empleados del Gobierno

del Estado Libre Asociado de Puerto Rico a Reclamaciones erróneamente clasificadas y

sobreestimadas (la "Tricentésima cuadragésima séptima objeción global"). He revisado

personalmente la Tricentésima cuadragésima séptima objeción global, y los anexos relativos a la

misma, por lo que estoy familiarizado con la información que contienen.




                                                2
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       4.     Durante el proceso de preparación para radicar la Tricentésima cuadragésima

séptima objeción global, bajo mi dirección y/o supervisión, cada una de las reclamaciones

controvertidas en la Tricentésima cuadragésima séptima objeción global fue examinada y

analizada cuidadosamente de buena fe aplicando la debida diligencia por parte del personal

pertinente. Dichos esfuerzos resultaron en la identificación de las reclamaciones que han de ser

reclasificadas, según se identifica en el Anexo A de la Tricentésima cuadragésima séptima

objeción global.

       5.     A mi fiel saber y entender, las reclamaciones identificadas en el Anexo A de la

Tricentésima cuadragésima séptima objeción global, en la columna titulada "Reclamaciones que

han de ser reclasificadas" (cada una denominada una "Reclamación que ha de ser reclasificada", y

conjuntamente, las "Reclamaciones que han de ser reclasificadas") alegan incorrecta o

indebidamente que están garantizadas y/o que tienen derecho a la prioridad de gastos

administrativos de acuerdo con el Título 11 U.S.C., § 503(b)(9). Tras una revisión razonable de

los libros y registros de los Deudores, estos últimos han llegado a la conclusión de que las

Reclamaciones que han de ser reclasificadas no tienen derecho ni a la prioridad de gastos

administrativos, ni al estatus garantizado, y deben ser debidamente clasificadas como

reclamaciones generales no garantizadas. Además, debido al proceso que Prime Clerk, LLC utiliza

para anotar y registrar evidencias de reclamaciones, cada una de las Reclamaciones que han de ser

reclasificadas se han anotado en el registro de reclamaciones de Título III por un monto

sobreestimado que excede del monto total que aparece en la Casilla 8 de la evidencia de

reclamación. La reclasificación de las Reclamaciones que han de ser reclasificadas es necesaria

para no perjudicar a otros reclamantes, incluidos otros titulares de reclamaciones generales no

garantizadas. Además, los titulares de las Reclamaciones que han de ser reclasificadas mantendrán




                                               3
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una reclamación modificada contra los Deudores, tal y como se establece en la columna titulada

"Reclamación Modificada Reducida" del Anexo A del presente documento.

       6.      Sobre la base de lo que antecede, y a mi fiel saber y entender, la información

contenida en la Tricentésima cuadragésima séptima objeción global y en sus anexos es veraz y

correcta, y el remedio allí solicitado redunda en el mejor interés del Deudor y sus acreedores.

       7.      Declaro, so pena de incurrir en falso testimonio conforme a las leyes de los Estados

Unidos de América, que lo que antecede es veraz y correcto a mi fiel saber y entender.



Fecha: 18 de junio de 2021
                                                     Por:    [Firma en la versión en inglés]
                                                             Jay Herriman




                                                 4
